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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA

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11 DEIRDRE P. MARSH−GIRARDI ,                                 NO. 2:19−CV−02188−JAM−AC

12                               Plaintiff,

13                         vs.                                ORDER REQUIRING SERVICE OF
                                                              PROCESS AND JOINT STATUS REPORT
14 CLIENT RESOLUTION MANAGEMENT,
   LLC ,
15
                   Defendant.
                                                      /
16
17          This action has been assigned to District Judge John A. Mendez. Pursuant to the provisions

18 of Fed. R. Civ. P. 16 and 26, IT IS HEREBY ORDERED THAT:

19          1.   Plaintiff(s) shall complete service of process on all parties within ninety (90) days

20 of the date of filing of the complaint.

21          2.   Concurrently with the service of process, or as soon thereafter as possible, plaintiff(s) shall

22 serve upon each of the parties named herein, and upon all parties subsequently joined, a copy of all new

23 civil case orders issued, and shall file with the Clerk a certificate reflecting such service.

24          3.   In the event this action was originally filed in a state court and was thereafter removed

25 to this court, the removing party or parties shall, immediately following such removal, serve upon each

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 1 of the other parties named herein, and upon all parties subsequently joined, a copy of this Order, and

 2 shall file with the Clerk a certificate reflecting such service.

 3         4.    Within sixty (60) days of service of the complaint on any party, or from the date of removal,

 4 the parties shall confer as required by Fed. R. Civ. P. 26(f) and shall prepare and submit to the Court

 5 a joint status report that includes the Rule 26(f) discovery plan. The status report shall address the

 6 following matters:

 7               a.   The nature of the case;

 8               b.    Progress in the service of process;

 9               c.   Possible joinder of additional parties;

10               d.    Any expected or desired amendment of pleadings;

11               e.   Jurisdiction and venue;

12               f.    Anticipated motions and the scheduling of motions;

13               g.    Anticipated discovery and the scheduling of discovery, including:

14                     (1) what changes, if any, should be made in the timing, form,
                           or requirement for disclosures under Rule 26(a), including
15                         a statement as to when disclosures under Rule 26(a)(1)
                           were made or will be made;
16
                       (2) the subjects on which discovery may be needed, when
17                         discovery should be completed, and whether discovery
                           should be conducted in phases or be limited to or
18                         focused upon particular issues;

19                     (3) what changes, if any, should be made in the limitations
                           on discovery imposed under the Civil Rules and what
20                         other limitations, if any, should be imposed; and

21                     (4) the timing of the disclosure of expert witnesses and
                           information required by Rule 26(a)(2).
22
                 h.    Future proceedings, including setting appropriate cut−off dates for
23                     discovery, law and motion, and the scheduling of pretrial and trial;

24               i.   Appropriateness of special procedures;

25               j.   Estimate of trial time;

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 1               k.    Modification of standard pretrial procedures specified by the rules due
                       to the relative simplicity or complexity of the action or proceedings;
 2
                 l.    Whether the case is related to any other case, including any
 3                     matters in bankruptcy;

 4               m.     Whether a settlement conference should be scheduled; and

 5               n.    Any other matters that may add to the just and expeditious disposition
                       of this matter.
 6

 7         5.    The Court, upon review of the joint status report may:

 8               a.    Issue a scheduling order incorporating the suggestions of counsel
                       as contained in the joint status report; or
 9
                 b.    By minute order, set a status conference to be held either by
10                     telephone or in chambers.

11         6.    In cases involving public traded companies, the parties shall request Judge Mendez's

13 recusal list by contacting Harry Vine at (916) 930−4091 or via Email at hvine@caed.uscourts.gov.

14 In addition, any nongovernmental corporate party to an action assigned to Judge Mendez shall file

15 with the joint status report a statement identifying all its parent corporations and listing any publicly held

16 company that owns 10% or more of the party's stock. A party shall supplement the statement within a

17 reasonable time of any change in the information.

18         DATE: October 30, 2019

19                                              JOHN A. MENDEZ
                                                UNITED STATES DISTRICT JUDGE
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21                                         by: /s/ M. York
                                                                 Deputy Clerk
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